         Case 2:14-cv-02289-CMR Document 81 Filed 10/19/18 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


PHYSICIANS HEALTHSOURCE, INC.


                      Plaintiff,
                                                  Civil Action No. 14-cv-02289
                      v.

ENDO PHARMACEUTICALS INC., et al.,

                      Defendants.



                           JOINT STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. Proc. 41(a)(1)(A)(ii), Plaintiff, Physicians Healthsource, Inc.,

and Defendants, Endo Pharmaceuticals Inc., Endo Pharmaceuticals Solutions Inc., Endo

Pharmaceuticals Valera Inc., Endo Health Solutions Inc., Endo Pharma LLC and Endo Pharma

Delaware Inc. through their undersigned attorneys, hereby stipulate to the dismissal of this action

without prejudice. Each party to bear its own costs and fees.

Dated: October 19, 2018                              Respectfully submitted,

                                                     /s/ Brian J. Wanca
                                                     Brian J. Wanca
                                                     Ross M. Good
                                                     Ryan M. Kelly
                                                     ANDERSON + WANCA
                                                     3701 Algonquin Road, Suite 500
                                                     Rolling Meadows, IL 60008
                                                     Tel: 847-368-1500
                                                     Fax: 847-368-1501
                                                     bwanca@andersonwanca.com

                                                     Ann M. Caldwell
                                                     CALDWELL LAW OFFICE LLC
                                                     108 W. Willow Grove Avenue, Suite 300
                                                     Philadelphia, PA 19118
         Case 2:14-cv-02289-CMR Document 81 Filed 10/19/18 Page 2 of 2




                                                     Tel: 215-248-2030
                                                     Fax: 215-248-2031
                                                     acaldwell@classactlaw.com

                                                     Attorneys for Plaintiff

                                                     /s/ William M. Connolly (with permission)
                                                     William M. Connolly
                                                     Meredith C. Slawe
                                                     John S. Yi
                                                     DRINKER BIDDLE & REATH LLP
                                                     One Logan Square, Suite 2000
                                                     Philadelphia, PA 19103
                                                     Tel: 215-988-2700
                                                     Fax: 215-988-2757
                                                     william.connolly@dbr.com

                                                     Attorneys for Defendants




                                CERTIFICATE OF SERVICE

        I hereby certify that on October 19, 2018, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system. Notice of this filing will be sent by e-mail to all
parties by operation of the Court’s electronic filing system.


                                                     s/ Brian J. Wanca




                                                2
